                Case 2:16-cv-02983-JJT Document 45 Filed 01/30/17 Page 1 of 2




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11

12                              IN THE UNITED STATES DISTRICT COURT

13                                     FOR THE DISTRICT OF ARIZONA
14

15         RaeAnn Patton,                              Case No.: 2:16:cv-02983-PHX-JJT
16                                                     STIPULATON TO DISMISS STERLING
                          Plaintiff,
17               vs.                                   JEWELERS, INC. WITH PREJUDICE

18         Sterling Jewelers, Inc.; Springleaf
19         Financial Services, Inc.; and
           Experian Information Solutions, Inc.,
20
                       Defendants.
21

22            NOTICE IS HERBY GIVEN that on this day Plaintiff RaeAnn Patton by and through
23
     her attorneys, Price Law Group APC, and Defendant Sterling Jewelers, Inc. (“Sterling”) by and
24
     through its attorneys, McGlinchey Stafford, hereby stipulate to dismiss the above action in its
25

26   entirety, with prejudice, against Sterling, each party to bear its own costs and attorneys’ fees.

27   ///
28

                                            STIPULATION TO DISMISS
                                                      -1-
              Case 2:16-cv-02983-JJT Document 45 Filed 01/30/17 Page 2 of 2




     RESPECTFULLY SUBMITTED,
 1

 2          Dated: January 30, 2017                            PRICE LAW GROUP, APC
 3

 4                                                             By: /s/ David A. Chami
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 5
                                                               1204 E. Baseline Road, Suite 102
 6                                                             Tempe, Arizona 85283
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 8          Dated: January 30, 2017                            MCGLINCHEY STAFFORD

 9                                                             By: /s/Brian A. Paino
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                                                               18201 Von Karman Ave., Suite 350
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                                                               Attorneys for Defendant
12                                                             Sterling Jewelers, Inc.
13

14

15                                    CERTIFICATE OF SERVICE

16
            I certify that a copy of the foregoing pleading was filed electronically with the Clerk of
17
     Court using the CM/ECF system on the 30th day of January, 2017. Notice of this filing will be
18
     sent to all parties by operation of the court’s electronic filing system.
19

20
     /s/ Sandra Padilla
21

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                                           STIPULATION TO DISMISS
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